               Case 18-10791-jkf                      Doc 18        Filed 03/06/18 Entered 03/06/18 07:25:58                              Desc Main
                                                                    Document      Page 1 of 35
  Fill in this information to identify your case and this filing:
  Debtor 1               Maurice                                         Carter
                         First Name                  Middle Name         Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name         Last Name


  United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

  Case number            18-10791
  (if known)                                                                                                               Check if this is an
                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           No. Go to Part 2.
           Yes. Where is the property?

1.1.                                                       What is the property?                         Do not deduct secured claims or exemptions. Put the
303 Lily Lane                                              Check all that apply.                         amount of any secured claims on Schedule D:
                                                                                                         Creditors Who Have Claims Secured by Property.
Street address, if available, or other description
                                                              Single-family home
                                                              Duplex or multi-unit building             Current value of the       Current value of the
                                                              Condominium or cooperative                entire property?           portion you own?
Cherry Hill                      NJ       08003               Manufactured or mobile home                         $259,391.70                $259,391.70
City                             State    ZIP Code
                                                              Land
                                                              Investment property                       Describe the nature of your ownership
                                                              Timeshare                                 interest (such as fee simple, tenancy by the
                                                                                                         entireties, or a life estate), if known.
County                                                        Other

                                                           Who has an interest in the property?
                                                                                                         RESIDENCE
$288,213.00 - $28,821.30 (10% Realtor                      Check one.
Commission) = $259,391.70
                                                              Debtor 1 only                                Check if this is community property
                                                                                                             (see instructions)
                                                              Debtor 2 only
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:




Official Form 106A/B                                                   Schedule A/B: Property                                                       page 1
               Case 18-10791-jkf                     Doc 18        Filed 03/06/18 Entered 03/06/18 07:25:58                                    Desc Main
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Debtor 1         Maurice Carter                                                                      Case number (if known)        18-10791

1.2.                                                    What is the property?                              Do not deduct secured claims or exemptions. Put the
225 E. Tabor Road                                       Check all that apply.                              amount of any secured claims on Schedule D:
                                                                                                           Creditors Who Have Claims Secured by Property.
Street address, if available, or other description
                                                           Single-family home
                                                           Duplex or multi-unit building                  Current value of the            Current value of the
                                                           Condominium or cooperative                     entire property?                portion you own?
Philadelphia                     PA       19120            Manufactured or mobile home                                 $92,240.10                  $92,240.10
City                             State    ZIP Code
                                                           Land
                                                           Investment property                            Describe the nature of your ownership
                                                           Timeshare                                      interest (such as fee simple, tenancy by the
                                                                                                           entireties, or a life estate), if known.
County                                                     Other

                                                        Who has an interest in the property?
                                                                                                           REAL ESTATE
$102,489.00 - $10,248.90 (10% Realtor                   Check one.
Commission) = $92,240.10
                                                           Debtor 1 only                                     Check if this is community property
                                                                                                               (see instructions)
                                                           Debtor 2 only
                                                           Debtor 1 and Debtor 2 only
                                                           At least one of the debtors and another

                                                        Other information you wish to add about this item, such as local
                                                        property identification number:

1.3.                                                    What is the property?                              Do not deduct secured claims or exemptions. Put the
6916 CEDAR PARK AVE.                                    Check all that apply.                              amount of any secured claims on Schedule D:
                                                                                                           Creditors Who Have Claims Secured by Property.
Street address, if available, or other description
                                                           Single-family home
                                                           Duplex or multi-unit building                  Current value of the            Current value of the
                                                           Condominium or cooperative                     entire property?                portion you own?
PHILADELPHIA                     PA       19138            Manufactured or mobile home                                $102,780.00                 $102,780.00
City                             State    ZIP Code
                                                           Land
                                                           Investment property                            Describe the nature of your ownership
                                                           Timeshare                                      interest (such as fee simple, tenancy by the
                                                                                                           entireties, or a life estate), if known.
County                                                     Other

                                                        Who has an interest in the property?
                                                                                                           RENTAL PROPERTY
6916 CEDAR PARK AVE.                                    Check one.
114,200-11,420 (10% Realtor's
Commission) = 102,780                                      Debtor 1 only                                     Check if this is community property
                                                                                                               (see instructions)
                                                           Debtor 2 only
                                                           Debtor 1 and Debtor 2 only
                                                           At least one of the debtors and another

                                                        Other information you wish to add about this item, such as local
                                                        property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.........................................................            $454,411.80


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes

4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes




Official Form 106A/B                                                  Schedule A/B: Property                                                               page 2
                Case 18-10791-jkf                       Doc 18             Filed 03/06/18 Entered 03/06/18 07:25:58                                              Desc Main
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Debtor 1         Maurice Carter                                                                                    Case number (if known)            18-10791

5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any
      entries for pages you have attached for Part 2. Write that number here.........................................................                                      $0.00


  Part 3:          Describe Your Personal and Household Items
                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware

          No
          Yes. Describe..... Furniture                                                                                                                                $2,000.00

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games

          No
          Yes. Describe.....

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

          No
          Yes. Describe.....

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments

          No
          Yes. Describe..... Golf-Sets                                                                                                                                  $500.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

          No
          Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

          No
          Yes. Describe..... Clothing                                                                                                                                   $900.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver

          No
          Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

          No
          Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you
    did not list

          No
          Yes. Give specific
           information.............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here........................................................................................................                $3,400.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                        page 3
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Debtor 1         Maurice Carter                                                                                                   Case number (if known)                   18-10791


 Part 4:            Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition

          No
          Yes.................................................................................................................................... Cash: ..........................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

          No
          Yes............................                    Institution name:

            17.1.       Checking account:                     Checking account
                                                              Wells Fargo                                                                                                                           $55.00
            17.2.       Checking account:                     Checking account
                                                              Freedom Credit Union                                                                                                                $300.00
            17.3.       Checking account:                     Checkin Account - Wells Fargo Business                                                                                              $600.00
            17.4.       Checking account:                     Checking account - Citizen's Bank                                                                                                      $3.49
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

          No
          Yes............................     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture

          No
          Yes. Give specific
           information about
           them..........................      Name of entity:                                                                                         % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

          No
          Yes. Give specific
           information about
           them..........................      Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans

          No
          Yes. List each
           account separately.               Type of account:                   Institution name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                       page 4
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Debtor 1         Maurice Carter                                                                     Case number (if known)      18-10791

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

          No
          Yes............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
     No
     Yes............................ Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

          No
          Yes............................   Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit

          No
          Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          No
          Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          No
          Yes. Give specific
           information about them

Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you

          No
          Yes. Give specific information                                                                                     Federal:
           about them, including whether
           you already filed the returns                                                                                      State:
           and the tax years......................
                                                                                                                              Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

          No
          Yes. Give specific information                                                                         Alimony:

                                                                                                                  Maintenance:

                                                                                                                  Support:

                                                                                                                  Divorce settlement:

                                                                                                                  Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else

          No
          Yes. Give specific information




Official Form 106A/B                                                    Schedule A/B: Property                                                           page 5
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Debtor 1         Maurice Carter                                                                                  Case number (if known)            18-10791

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

          No
          Yes. Name the insurance
           company of each policy
           and list its value................    Company name:                                              Beneficiary:                               Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died

          No
          Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

          No
          Yes. Describe each claim........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims

          No
          Yes. Describe each claim........

35. Any financial assets you did not already list

          No
          Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................                $958.49


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

          No. Go to Part 6.
          Yes. Go to line 38.

                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
38. Accounts receivable or commissions you already earned

          No
          Yes. Describe..

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices

          No
          Yes. Describe.. Tools                                                                                                                                       $500.00

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

          No
          Yes. Describe..

41. Inventory

          No
          Yes. Describe..




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 6
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Debtor 1         Maurice Carter                                                                                  Case number (if known)            18-10791

42. Interests in partnerships or joint ventures

          No
          Yes. Describe..... Name of entity:                                                                                     % of ownership:

43. Customer lists, mailing lists, or other compilations

          No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                 No
                 Yes. Describe.....
44. Any business-related property you did not already list

          No
          Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................                $500.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

          No. Go to Part 7.
          Yes. Go to line 47.


                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

          No
          Yes....

48. Crops--either growing or harvested

          No
          Yes. Give specific
           information................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

          No
          Yes....

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes....

51. Any farm- and commercial fishing-related property you did not already list

          No
          Yes. Give specific
           information................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................                   $0.00




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 7
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Debtor 1          Maurice Carter                                                                                            Case number (if known)                18-10791


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

           No
           Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.............................................                                                      $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................             $454,411.80

56. Part 2: Total vehicles, line 5                                                                                          $0.00

57. Part 3: Total personal and household items, line 15                                                              $3,400.00

58. Part 4: Total financial assets, line 36                                                                             $958.49

59. Part 5: Total business-related property, line 45                                                                    $500.00

60. Part 6: Total farm- and fishing-related property, line 52                                                               $0.00

61. Part 7: Total other property not listed, line 54                                              +                         $0.00

                                                                                                                                          Copy personal
62. Total personal property.                  Add lines 56 through 61..................                              $4,858.49            property total                  +       $4,858.49


63. Total of all property on Schedule A/B.                         Add line 55 + line 62................................................................................         $459,270.29




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 8
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                                                            Document      Page 9 of 35
 Fill in this information to identify your case:
 Debtor 1            Maurice                                     Carter
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA
                                                                                                                    Check if this is an
 Case number         18-10791                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.

         You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $259,391.70                $23,675.00          11 U.S.C. § 522(d)(1)
303 Lily Lane                                                                    100% of fair market
$288,213.00 - $28,821.30 (10% Realtor                                             value, up to any
Commission) = $259,391.70                                                         applicable statutory
Line from Schedule A/B: 1.1                                                       limit

Brief description:                                          $2,000.00                 $2,000.00          11 U.S.C. § 522(d)(3)
Furniture                                                                        100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:       6
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                           $500.00                   $500.00           11 U.S.C. § 522(d)(5)
Golf-Sets                                                                        100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:       9
                                                                                  applicable statutory
                                                                                  limit


3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

         No
         Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           No
           Yes
Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Maurice Carter                                                         Case number (if known)   18-10791

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $900.00                 $900.00           11 U.S.C. § 522(d)(3)
Clothing                                                                    100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $55.00                   $55.00           11 U.S.C. § 522(d)(5)
Checking account                                                            100% of fair market
Wells Fargo                                                                  value, up to any
Line from Schedule A/B:   17.1                                               applicable statutory
                                                                             limit

Brief description:                                       $300.00                 $300.00           11 U.S.C. § 522(d)(5)
Checking account                                                            100% of fair market
Freedom Credit Union                                                         value, up to any
Line from Schedule A/B:   17.2                                               applicable statutory
                                                                             limit

Brief description:                                       $600.00                  $0.00            11 U.S.C. § 522(d)(5)
Checkin Account - Wells Fargo Business                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.3
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                 $395.00           11 U.S.C. § 522(d)(5)
Tools                                                                       100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    39
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
               Case 18-10791-jkf               Doc 18        Filed 03/06/18 Entered 03/06/18 07:25:58                                 Desc Main
                                                             Document     Page 11 of 35
  Fill in this information to identify your case:
  Debtor 1             Maurice                                      Carter
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

  Case number          18-10791
  (if known)                                                                                                          Check if this is an
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?

            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                           $116,286.16             $259,391.70
Citizen's Bank                                   Real Estate
Creditor's name
10561 Telegraph Rd
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                  Contingent
Glen Allen
City
                         VA
                         State
                                 23059
                                 ZIP Code
                                                  Unliquidated
                                                  Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                   Conventional Real Estate Mortgage
       to a community debt
Date debt was incurred           05/2004         Last 4 digits of account number        5     4    0    7




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $116,286.16

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
               Case 18-10791-jkf             Doc 18       Filed 03/06/18 Entered 03/06/18 07:25:58                                 Desc Main
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Debtor 1        Maurice Carter                                                            Case number (if known)      18-10791

                  Additional Page                                                     Column A               Column B               Column C
  Part 1:                                                                             Amount of claim        Value of collateral    Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this     portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                  If any

  2.2                                         Describe the property that
                                              secures the claim:                            $25,378.11             $259,391.70
Citizen's Bank                                Real Estate
Creditor's name
10561 Telegraph Rd
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Glen Allen
City
                        VA
                        State
                                23059
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Arrearage claim
       to a community debt
Date debt was incurred          Various       Last 4 digits of account number        5     4    0    7

  2.3                                         Describe the property that
                                              secures the claim:                            $29,590.87             $102,780.00
Wells Fargo
Creditor's name
                                              Cedar Park Property
1000 Blue Gentian Road N9286-01Y
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Eagan
City
                        MN
                        State
                                55121
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Mortgage
       to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $54,968.98

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2
               Case 18-10791-jkf             Doc 18       Filed 03/06/18 Entered 03/06/18 07:25:58                                 Desc Main
                                                          Document     Page 13 of 35
Debtor 1        Maurice Carter                                                            Case number (if known)      18-10791

                  Additional Page                                                     Column A               Column B               Column C
  Part 1:                                                                             Amount of claim        Value of collateral    Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this     portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                  If any

  2.4                                         Describe the property that
                                              secures the claim:                            $10,609.52             $102,780.00
Wells Fargo                                   Cedar Park Property
Creditor's name
1000 Blue Gentian Road N9286-01Y
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Eagan
City
                        MN
                        State
                                55121
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Arrearage claim
       to a community debt
Date debt was incurred          Various       Last 4 digits of account number

  2.5                                         Describe the property that
                                              secures the claim:                            $68,251.31             $259,391.70
Wells Fargo Bank Nv Na
Creditor's name
                                              Real Estate
Po Box 31557
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Billings
City
                        MT
                        State
                                59107
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Credit Line Secured
       to a community debt
Date debt was incurred          03/2005       Last 4 digits of account number        1     9    9    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $78,860.83

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3
               Case 18-10791-jkf             Doc 18       Filed 03/06/18 Entered 03/06/18 07:25:58                                 Desc Main
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Debtor 1        Maurice Carter                                                            Case number (if known)      18-10791

                  Additional Page                                                     Column A               Column B               Column C
  Part 1:                                                                             Amount of claim        Value of collateral    Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this     portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                  If any

  2.6                                         Describe the property that
                                              secures the claim:                               $2,231.99           $259,391.70
Wells Fargo Bank Nv Na                        Real Estate
Creditor's name
Po Box 31557
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Billings
City
                        MT
                        State
                                59107
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Arrearage claim
       to a community debt
Date debt was incurred          Various       Last 4 digits of account number        1     9    9    8

  2.7                                         Describe the property that
                                              secures the claim:                            $95,408.24              $92,240.10          $3,168.14
Wells Fargo Bank, NA
Creditor's name
                                              225 EAST TABOR ROAD
1000 Blue Gentian Road
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Eagan
City
                        MN
                        State
                                55121
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Mortgage
       to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $97,640.23

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 4
               Case 18-10791-jkf             Doc 18       Filed 03/06/18 Entered 03/06/18 07:25:58                                 Desc Main
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Debtor 1        Maurice Carter                                                            Case number (if known)      18-10791

                  Additional Page                                                     Column A               Column B               Column C
  Part 1:                                                                             Amount of claim        Value of collateral    Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this     portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                  If any

  2.8                                         Describe the property that
                                              secures the claim:                            $32,011.06              $92,240.10         $32,011.06
Wells Fargo Bank, NA                          225 EAST TABOR ROAD
Creditor's name
1000 Blue Gentian Road
Number      Street


                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Eagan
City
                        MN
                        State
                                55121
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Arrearage claim
       to a community debt
Date debt was incurred          Various       Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $32,011.06

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $379,767.26

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 5
              Case 18-10791-jkf                 Doc 18       Filed 03/06/18 Entered 03/06/18 07:25:58                                 Desc Main
                                                             Document     Page 16 of 35
  Fill in this information to identify your case:
  Debtor 1             Maurice                                      Carter
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

  Case number          18-10791
  (if known)                                                                                                           Check if this is an
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                $2,000.00           $2,000.00                $0.00
Erik B. Jensen P.C.
Priority Creditor's Name                                   Last 4 digits of account number
1528 Walnut Street                                         When was the debt incurred?          03/05/2018
Number       Street
Suite 1401                                                 As of the date you file, the claim is: Check all that apply.
                                                            Contingent
Philadelphia                    PA      19102               Unliquidated
City                            State   ZIP Code            Disputed
Who incurred the debt?     Check one.                      Type of PRIORITY unsecured claim:
 Debtor 1 only                                             Domestic support obligations
 Debtor 2 only                                             Taxes and certain other debts you owe the government
 Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
 At least one of the debtors and another                     intoxicated
    Check if this claim is for a community debt
                                                            Other. Specify
Is the claim subject to offset?                                Attorney fees for this case
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
              Case 18-10791-jkf                 Doc 18        Filed 03/06/18 Entered 03/06/18 07:25:58                                   Desc Main
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Debtor 1       Maurice Carter                                                                   Case number (if known)      18-10791

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1
                                                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                             Student loans
  Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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                                                            Document     Page 18 of 35
Debtor 1       Maurice Carter                                                          Case number (if known)        18-10791

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +          $2,000.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.              $2,000.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +                 $0.00


                  6j.   Total.   Add lines 6f through 6i.                                            6j.                     $0.00




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3
            Case 18-10791-jkf               Doc 18        Filed 03/06/18 Entered 03/06/18 07:25:58                                Desc Main
                                                          Document     Page 19 of 35
 Fill in this information to identify your case:
 Debtor 1            Maurice                                     Carter
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         18-10791
 (if known)                                                                                                        Check if this is an
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

         Person or company with whom you have the contract or lease                  State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
            Case 18-10791-jkf              Doc 18         Filed 03/06/18 Entered 03/06/18 07:25:58                                   Desc Main
                                                          Document     Page 20 of 35
 Fill in this information to identify your case:
 Debtor 1            Maurice                                     Carter
                     First Name          Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         18-10791
 (if known)                                                                                                           Check if this is an
                                                                                                                       amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

         No. Go to line 3.
         Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           No
           Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                        page 1
                Case 18-10791-jkf              Doc 18     Filed 03/06/18 Entered 03/06/18 07:25:58                                      Desc Main
                                                          Document     Page 21 of 35
 Fill in this information to identify your case:
     Debtor 1              Maurice                                     Carter
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2
     (Spouse, if filing)   First Name           Middle Name            Last Name                               An amended filing

     United States Bankruptcy Court for the:   EASTERN DIST. OF PENNSYLVANIA                                   A supplement showing postpetition
                                                                                                                chapter 13 income as of the following date:
     Case number           18-10791
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status            Employed                                          Employed
      with information about                                         Not employed                                      Not employed
      additional employers.
                                        Occupation
      Include part-time, seasonal,
      or self-employed work.            Employer's name

      Occupation may include            Employer's address
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
               Case 18-10791-jkf                            Doc 18             Filed 03/06/18 Entered 03/06/18 07:25:58                                      Desc Main
                                                                               Document     Page 22 of 35
Debtor 1        Maurice Carter                                                                                               Case number (if known)    18-10791
                                                                                                                    For Debtor 1         For Debtor 2 or
                                                                                                                                         non-filing spouse
     Copy line 4 here .................................................................................    4.              $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.             $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.             $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.             $0.00
     5d. Required repayments of retirement fund loans                                                       5d.             $0.00
     5e. Insurance                                                                                          5e.             $0.00
     5f. Domestic support obligations                                                                       5f.             $0.00
     5g. Union dues                                                                                         5g.             $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +           $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                  6.              $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.          7.              $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.             $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                             8b.             $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.             $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.             $0.00
     8e. Social Security                                                                                    8e.         $1,548.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.             $0.00
     8g. Pension or retirement income                                                                       8g.         $2,308.00
     8h. Other monthly income.
         Specify: Rental Income                                                                             8h. +       $2,000.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.          $5,856.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.         $5,856.00    +                       =       $5,856.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                         11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                         12.            $5,856.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                               Combined
                                                                                                                                                                 monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.             None.
           Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                               page 2
                Case 18-10791-jkf              Doc 18        Filed 03/06/18 Entered 03/06/18 07:25:58                               Desc Main
                                                             Document     Page 23 of 35
 Fill in this information to identify your case:
                                                                                                        Check if this is:
     Debtor 1              Maurice
                           First Name             Middle Name
                                                                         Carter
                                                                         Last Name
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition
                                                                                                            chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                          following date:

     United States Bankruptcy Court for the:    EASTERN DIST. OF PENNSYLVANIA                                 MM / DD / YYYY
     Case number           18-10791
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                 No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                 No
                                                                                      Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                Yes. Fill out this information
                                               for each dependent.................... Debtor 1 or Debtor 2           age              live with you?
      Debtor 2.
                                                                                                                                         No

      Do not state the dependents'
                                                                                                                                         Yes

      names.                                                                                                                             No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include                       No
      expenses of people other than
      yourself and your dependents?
                                                     Yes



 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                     Your expenses

4.    The rental or home ownership expenses for your residence.                                                     4.                    $2,740.00
      Include first mortgage payments and any rent for the ground or lot.                                      (See continuation sheet(s) for details)
      If not included in line 4:

      4a. Real estate taxes                                              (See continuation sheet(s) for details) 4a.                         $870.00
      4b. Property, homeowner's, or renter's insurance                   (See continuation sheet(s) for details) 4b.                         $232.00
      4c. Home maintenance, repair, and upkeep expenses                                                             4c.

      4d. Homeowner's association or condominium dues                                                               4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                       page 1
             Case 18-10791-jkf              Doc 18         Filed 03/06/18 Entered 03/06/18 07:25:58                        Desc Main
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Debtor 1      Maurice Carter                                                                Case number (if known)     18-10791
                                                                                                                 Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                            5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                    6a.                    $260.00
     6b. Water, sewer, garbage collection                                                                  6b.

     6c. Telephone, cell phone, Internet, satellite, and                                                   6c.                    $150.00
         cable services
     6d. Other. Specify:                                                                                   6d.

7.   Food and housekeeping supplies                                                                        7.                     $450.00
8.   Childcare and children's education costs                      (See continuation sheet(s) for details) 8.                     $500.00
9.   Clothing, laundry, and dry cleaning                                                                   9.                      $30.00
10. Personal care products and services                                                                    10.                     $40.00
11. Medical and dental expenses                                    (See continuation sheet(s) for details) 11.                     $50.00
12. Transportation. Include gas, maintenance, bus or train         (See continuation sheet(s) for details) 12.                    $300.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                          13.
    magazines, and books
14. Charitable contributions and religious donations                                                       14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                 15a.

     15b.   Health insurance                                                                               15b.                   $221.00
     15c.   Vehicle insurance                                                                              15c.

     15d.   Other insurance. Specify:                                                                      15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                               16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                                     17a.

     17b.   Car payments for Vehicle 2                                                                     17b.

     17c.   Other. Specify:                                                                                17c.

     17d.   Other. Specify:                                                                                17d.

18. Your payments of alimony, maintenance, and support that you did not report as                          18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                                    20a.

     20b.   Real estate taxes                                                                              20b.

     20c.   Property, homeowner's, or renter's insurance                                                   20c.

     20d.   Maintenance, repair, and upkeep expenses                                                       20d.

     20e.   Homeowner's association or condominium dues                                                    20e.



 Official Form 106J                                         Schedule J: Your Expenses                                                page 2
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Debtor 1      Maurice Carter                                                                   Case number (if known)   18-10791
21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                  $5,843.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                  $5,843.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                  $5,856.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –              $5,843.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                    $13.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
          Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                  page 3
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Debtor 1       Maurice Carter                                                          Case number (if known)   18-10791


4.   The rental or home ownership expense for your residence (details):
     Citizen                                                                                                               $1,228.00
     Tabor                                                                                                                  $727.00
     Cedar Park                                                                                                             $485.00
     Heloc - Lily                                                                                                           $300.00

                                                                                             Total:                        $2,740.00


4a. Real estate taxes for your residence (details):
     Lily                                                                                                                   $735.00
     Cedar Pk                                                                                                               $135.00

                                                                                             Total:                         $870.00


4b. Property, homeowner's, or renter's insurance for your residence (details):
     Lily Lane                                                                                                              $175.00
     Cedar Pk                                                                                                                $57.00

                                                                                             Total:                         $232.00


8.   Childcare and children's education costs (details):
     Daughter's Tuition - Half                                                                                              $500.00

                                                                                             Total:                         $500.00


11. Medical and dental (details):
     Medication                                                                                                              $50.00

                                                                                             Total:                          $50.00


12. Transportation (details):
     Gas                                                                                                                    $240.00
     EZ Pass                                                                                                                 $60.00

                                                                                             Total:                         $300.00




 Official Form 106J                                        Schedule J: Your Expenses                                           page 4
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 Fill in this information to identify your case:
 Debtor 1               Maurice                                                  Carter
                        First Name                   Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                 Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number            18-10791
 (if known)                                                                                                                                      Check if this is an
                                                                                                                                                  amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                             Your assets
                                                                                                                                                             Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B...................................................................................................         $454,411.80


     1b. Copy line 62, Total personal property, from Schedule A/B........................................................................................                 $4,858.49


     1c. Copy line 63, Total of all property on Schedule A/B..................................................................................................         $459,270.29


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.....                                           $379,767.26

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.....................................                                  $2,000.00


     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................. +                                          $0.00



                                                                                                                             Your total liabilities                    $381,767.26




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
     Copy your combined monthly income from line 12 of Schedule I......................................................................................                   $5,856.00

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J................................................................................................               $5,843.00




Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                                                            page 1
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Debtor 1      Maurice Carter                                                               Case number (if known)     18-10791


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes


7.   What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $5,856.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00

     9d. Student loans. (Copy line 6f.)                                                                                $0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00

     9g. Total.    Add lines 9a through 9f.                                                                            $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Maurice                                  Carter
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number        18-10791
 (if known)                                                                                                 Check if this is an
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         No

         Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Maurice Carter                                   X
        Maurice Carter, Debtor 1                               Signature of Debtor 2

        Date 03/05/2018                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
            Case 18-10791-jkf               Doc 18       Filed 03/06/18 Entered 03/06/18 07:25:58                              Desc Main
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 Fill in this information to identify your case:
 Debtor 1           Maurice                                    Carter
                    First Name           Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name           Last Name


 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number        18-10791
 (if known)                                                                                                     Check if this is an
                                                                                                                 amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                       04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
      Married
      Not married
2.   During the last 3 years, have you lived anywhere other than where you live now?
      No
      Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)

        No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2:       Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.


        No
        Yes. Fill in the details.

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.


        No
        Yes. Fill in the details.




Official Form 107                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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                                                            Document     Page 31 of 35
Debtor 1         Maurice Carter                                                             Case number (if known)      18-10791


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

          No.    Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                  "incurred by an individual primarily for a personal, family, or household purpose."

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                  * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                           Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.


          No
          Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.


          No
          Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1         Maurice Carter                                                            Case number (if known)   18-10791
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.


          No. Go to line 11.
          Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

          No
          Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

          No
          Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

          No
          Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


          No
          Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

          No
          Yes. Fill in the details.

 Part 7:          List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

          No
          Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                       page 3
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                                                         Document     Page 33 of 35
Debtor 1       Maurice Carter                                                            Case number (if known)     18-10791
17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

          No
          Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.


          No
          Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)

          No
          Yes. Fill in the details.

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

          No
          Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

          No
          Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
     No
     Yes. Fill in the details.
 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

          No
          Yes. Fill in the details.




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 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
  hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
  including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
  utilize it or used to own, operate, or utilize it, including disposal sites.

 Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
  substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


          No
          Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
     No
     Yes. Fill in the details.
26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

          No
          Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.




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 Part 12:      Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Maurice Carter                                  X
    Maurice Carter, Debtor 1                              Signature of Debtor 2

    Date     03/05/2018                                   Date


Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   No
   Yes


Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   No
   Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




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